849 F.2d 606Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Leonard SPEAKES, Petitioner-Appellant,v.UNITED STATES of America, Respondent-Appellee.
    No. 88-7035.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  March 30, 1988.Decided:  June 10, 1988.
    
      Leonard Speakes, appellant pro se.
      Before JAMES DICKSON PHILLIPS, WILKINSON and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2241 is without merit.*   Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Speakes v. United States, C/A No. 88-12-E (N.D.W.Va. Jan. 22, 1988).
    
    
      2
      AFFIRMED.
    
    
      
        *
         We note that the parole commission correctly determined that appellant's prior conviction did not meet the requirements of the ancient prior record exception
      
    
    